                                   CASE 0:20-cv-01645-SRN-DTS Doc. 1-1 Filed 07/28/20 Page 1 of 3
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

, D      3/$,17,))6                                                                                           '()(1'$176
Levy Armstrong, Nekima on behalf of herself and other similarly situated
individuals                                                                                                  See Attachment A

     E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII         Hennepin                                       &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW                                Hennepin
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
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     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)
See Attachment A



,,%$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                     ,,,&,7,=(16+,32)35,1&,3$/3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                                               and One Box for Defendant)
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u  86*RYHUQPHQW                 u  'LYHUVLW\                                               &LWL]HQRI$QRWKHU6WDWH                  u          u        ,QFRUSRUDWHGand3ULQFLSDO3ODFH                   u          u 
        'HIHQGDQW                            (Indicate Citizenship of Parties in Item III)                                                                             RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                                   &LWL]HQRU6XEMHFWRID                   u          u        )RUHLJQ1DWLRQ                                     u          u 
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                                          42 U.S.C section 1983
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                                          Civil rights action seeking relief against Defendants engaged in unconstitutional targeting of protesters.
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         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

9,,, 5HODWHG&DVHV7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
       QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

'DWHDQG$WWRUQH\6LJQDWXUH'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
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                                Civil Cover Sheet Attachment A

(c) Plaintiffs’ Attorneys (Firm Name, Address, and Telephone Number)

Michael E. Florey (#0214322)
Veena V. Tripathi (#0401111)
FISH & RICHARDSON P.C.
3200 RBC Plaza
60 South 6th Street
Minneapolis, MN 55402
Tel: (612) 335-5070
Fax: (612) 288-9696

Ahmed J. Davis (pro hac vice to be filed)
davis@fr.com
FISH & RICHARDSON P.C.
1000 Maine Avenue, S.W. Suite 1000
Washington, D.C. 20024
Tel: (202) 783-5070
Fax: (202) 783-2231

Excylyn J. Hardin-Smith (pro hac vice to be filed)
Hardin-smith@fr.com
FISH & RICHARDSON P.C.
7 Times Square, 20th Floor
New York, NY 10036
Tel: (212) 765-5070
Fax: (212) 258-2291

Teresa J. Nelson (#0269736)
tnelson@aclu-mn.org
AMERICAN CIVIL LIBERTIES
UNION OF MINNESOTA
P.O. Box 14720
Minneapolis, MN 55414
Tel: (651) 645-4097

DEFENDANTS:
City of Minneapolis; Minneapolis Chief of Police Medaria Arradondo in his individual and
official capacity; Minneapolis Police Lieutenant Robert Kroll, in his individual and official
capacity; Minnesota Department of Public Safety Commissioner John Harrington, in his
individual and official capacity, Minnesota State Patrol Colonel Matthew Langer, in his
individual and official capacity; and John Does 1-2, in their individual and official
capacities
